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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF INDIANA
                                FORT WAYNE DIVISION

PRESS-SEAL GASKET CORP.,                              )
                                                      )
       Plaintiff and Counterclaim Defendant,          )
                                                      )
v.                                                    )       CAUSE: 1:04CV026TLS
                                                      )
TRELLEBORG FORSHEDA BUILDING                          )
AB,                                                   )
                                                      )
       Defendant and Counterclaim Plaintiff.          )



                                    ORDER OF DISMISSAL


       The parties have stipulated that any and all claims asserted by Press-Seal Gasket Corp. and

Trelleborg Forsheda Building AB in this lawsuit shall be dismissed with prejudice. The Court has

reviewed the Stipulation for Dismissal, finds it sufficient, and hereby ORDERS that any and all

claims asserted by the parties in this lawsuit be DISMISSED WITH PREJUDICE. Except as

provided in the parties’ “Confidential Settlement and License Agreement,” each party is to bear their

own costs and fees.

       Dated this 8th day of February, 2005.




                                               s/Theresa L. Springmann
                                               Judge, United States District Court
